Name, Case
      Address5:16-cv-01472-JGB-KK          Document
              and Telephone Number of Attorney(s):        45 Filed 05/16/17 Page 1 of 1 Page ID #:336
Richard T. Copeland, Esq. (SBN 213605)
CONFLICT SOLUTION SERVICES
450 N. Brand Boulevard, Suite 600
Glendale, California 91203
(310) 968-6070

                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                              CASE NUMBER
DAVID POWELL, SR., et.al.
                                                                                 16-CV-1472-JGB
                                           Plaintiff(s)
                           v.
CITY OF BARSTOW, et.al.
                                                                            MEDIATION REPORT

                                           Defendant(s).

Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation
session even if the negotiations continue. If the case later settles with the assistance of the mediator,
the mediator must file a subsequent Report.
1.       ✔   A mediation was held on (date): May 15, 2017                   .

             A mediation did not take place because the case settled before the session occurred.

2.      The individual parties and their respective trial counsel, designated corporate representatives, and/or
        representatives of the party's insurer:
                ✔   Appeared as required by Civil L.R. 16-15.5(b).
                    Did not appear as required by Civil L.R. 16-15.5(b).
                            Plaintiff or plaintiff's representative failed to appear.
                            Defendant or defendant's representative failed to appear.
                            Other:

3.      Did the case settle?
                ✔   Yes, fully, on May 15, 2017           (date).
                    Yes, partially, and further facilitated discussions are expected. (See No. 4 below.)
                    Yes, partially, and further facilitated discussions are not expected.
                    No, and further facilitated discussions are expected. (See No. 4 below.)
                    No, and further facilitated discussions are not expected.
4.      If further facilitated discussions are expected, by what date will you check in with the parties?
                                    .

Dated: May 16, 2017
                                                                                Signature of Mediator
                                                                                 Richard T. Copeland
                                                                                Name of Mediator (print)
The Mediator is to electronically file original document.

ADR-03 (01/14)                                   MEDIATION REPORT                                           Page 1 of 1
